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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


PATRIOT SERVICES GROUP                              Civil Action No. 2:22-cv-01025
LOUISIANA, INC.,
a Louisiana corporation

                      Plaintiff,

       v.

LUXOR CONTRACTING GROUP, INC.,                      Judge Jay C. Zainey
a Florida corporation, and
LUXOR BUILDING GROUP, LLC,                          Magistrate Judge Dana Douglas
a Louisiana limited liability company

                      Defendants.


                                            ORDER

       CONSIDERING the foregoing Consent Motion for Leave to File Third Amended

Complaint filed by plaintiff, Patriot Services Group Louisiana, Inc. (the “Consent Motion”),

       IT IS ORDERED that the Consent Motion is GRANTED and that the Clerk of

Court shall immediately file the Third Amended Complaint attached to the Consent Motion as

Exhibit 1.

       THUS DONE AND SIGNED this ____ day of _______________,
                                                   June       2022.



                                            JUDGE, UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF LOUISIANA
